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                                       UNITED    STATES      DISTRICT            COURT
                                       EASTERN    DISTRICT         OF    VIRGINIA
                                              Newport   News       Division



UNITED      STATES           OF    AMERICA,


       v.                                                                          CRIMINAL      NO.   4:07cr48


THOMAS      M.     BRADDY,             JR.,


                                         Defendant.




                                       ACCEPTANCE       OF   PLEA       OF   GUILTY,
                                              ADJUDICATION         OF    GUILT
                                                            AND
                                              NOTICE    OF   SENTENCING


        Pursuant to the Report and Recommendation of the United States


Magistrate Judge,                      to which there has been no                  timely objection,           the


plea    of    guilty              of    the    defendant          to    Counts      one,    Thirty-six,        and


Forty-one          of    the       indictment          is    now ACCEPTED           and    the   defendant      is

ADJUDGED GUILTY                   of    such offenses.             Sentencing        is     hereby     scheduled


for    October          1,    2007,       at    10:00    a.m.


        The      Clerk            is    DIRECTED       to    forward         a    copy     of   this   Order    to

counsel for defendant and to the Assistant United States Attorney.


        IT    IS    SO       ORDERED.



                                                              Rebecca Beach Smith
                                                              United States District Judge
                                                         Rebecca Beach Smith
                                                         UNITED         STATES     DISTRICT      JUDGE


Norfolk,         Virginia

June     \tA , 2007
